                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

  In the Matter of:                        }
                                           }
                                           }
  Simplicity Caterers, LLC                 } Case No. 19-82798-CRJ-11
                                 Debtor(s) }
                                           } Chapter 11
                                           }
                                           }
                                           }
                                           }
                                ORDER REDUCING TIME AND
                                   NOTICE OF HEARING

 Pursuant to Rule 9006(c)(1), the Court, for cause shown, reduces the notice time for hearing in
 the above-styled case.

 It is therefore ORDERED, ADJUDGED, and DECREED that a hearing will be held to
 consider and act upon the following:

 Final Application for Compensation and Expenses filed by Kevin D. Heard, Trustee

  Date: Wednesday, June 24, 2020                     Time: 11:00 AM

 The hearing will be held via an AT&T call-in number. The dial-in number is 1-877-336-
 1280. When prompted, enter the access code #2749965. There is no security code, and please do
 not select any other feature. Other cases or matters may be scheduled for telephonic hearing at the
 same time. Parties should call in five minutes prior to the start of the hearing. Once connected,
 please mute your phone until your case is called. After your hearing is completed, please hang up
 to end your call. To avoid disruption, telephonic hearing participants are expected to call from a
 quiet location and are not permitted to use a "speaker" function or to place the call on hold (as this
 may cause music or other noises to play during the hearings of other participants). Participants
 are encouraged to call from a landline if possible.

 THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO
 THE COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL
 INFORMATION (www.alnb.uscourts.gov).

 Dated this the 22nd day of June, 2020.
                                                       /s/ Clifton R. Jessup, Jr.
                                                       Clifton R. Jessup, Jr.
                                                       United States Bankruptcy Judge



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